                     Case 25-10308           Doc 385        Filed 04/29/25        Page 1 of 6




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND
                                     (Baltimore Division)

    In re                                                    Case No. 25-10308 (DER)

    Diamond Comic Distributors, Inc., et al.,                Chapter 11

                             Debtors.1                       (Jointly Administered)

                                                             Re: D.I. 136 & 168

         DEBTORS’ MOTION FOR ENTRY OF ORDERS AUTHORIZING THE
          SALE OF SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS TO
     THE BACK-UP BIDDERS PURSUANT TO THE BIDDING PROCEDURES ORDER

            The above-captioned debtors and debtors in possession (collectively, the “Debtors”), by

and through their undersigned counsel, respectfully move (the “Motion”) as follows:

                                                 Relief Requested

            1.     The Debtors respectfully request entry of orders, substantially in the forms attached

hereto as Exhibit A and Exhibit B, (collectively, the “Proposed Sale Orders”) authorizing the sale

of substantially all of the Debtors’ assets to the Back-Up-Bidders (as defined below) pursuant to

the Bid Procedures Order (as defined below).

                                             Jurisdiction and Venue

            2.     This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334,

and Standing Order 2012-05 from the United States District Court for the District of Maryland.

This is a core proceeding under 28 U.S.C. § 157(b)(2). Venue of these cases and the Motion is

proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.




1
      The Debtors in these chapter 11 cases along with the last four digits of the Debtors’ federal tax identification
      numbers are: Diamond Comic Distributors, Inc. (3450); Comic Holdings, Inc. (7457); Comic Exporters, Inc.
      (7458); and Diamond Select Toys & Collectibles, LLC (6585). The Debtors’ mailing address is: 10150 York
      Road, Suite 300, Hunt Valley, Maryland 21030.
                 Case 25-10308       Doc 385      Filed 04/29/25     Page 2 of 6




                                           Background

       3.      On January 14, 2025 (the “Petition Date”), each of the Debtors commenced a case

under chapter 11 of the Bankruptcy Code. The Debtors are operating their businesses and

managing their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No request for the appointment of a trustee or examiner has been made in the

chapter 11 cases. On January 29, 2025, the Office of the United States Trustee appointed an

Official Committee of Unsecured Creditors (the “Committee”).

       4.      A description of the Debtors’ businesses and the reasons for commencing the

chapter 11 cases are set forth in the Declaration of Robert Gorin in Support of Chapter 11 Petitions

and First Day Relief [D.I. 20] and incorporated herein by reference.

       5.      On February 11, 2025 the court entered the Order (I) Authorizing and Approving

Bidding Procedures for the Sale of All or Substantially All of the Debtors’ Assets, (II) Approving

Bid Protections, (III) Scheduling an Auction and a Sale Hearing, (IV) Approving the Form and

Manner of Notice Thereof, (V) Establishing Notice and Procedures of Assumption and Assignment

of Certain Executory Contracts and Leases, and (VI) Granting Related Relief [D.I. 136] (the “Bid

Procedures Order”). On February 21, 2025, the Debtors filed the Debtors’ Motion for Entry of an

Order (I) Approving the Sale of Substantially all of the Debtors’ Assets Free and Clear of Liens,

Claims, Interests and Encumbrances; (II) Approving the Assumption and Assignment of Executory

Contracts and Unexpired Leases; and (III) Granting Related Relief [D.I. 168].

       6.      Consistent with the Bid Procedures Order, the Debtors held an auction (the

“Auction”) on March 24 and 25, 2025. Following the Auction, the Debtors filed the Notice of

Designation of Successful Bidder and Back-Up Bidder [D.I. 270] identifying Alliance

Entertainment, LLC (“Alliance”) as the successful bidder and a combination of Universal



                                                 2
                 Case 25-10308       Doc 385     Filed 04/29/25    Page 3 of 6




Distribution, LLC, (“Universal”) and Ad Populum, LLC, (“Ad Populum”) as the back-up bidders

(the “Back-Up Bidders”).

       7.      As a result of disagreement arising with Alliance regarding the documentation of

the sale, the Debtors filed a Notice of Revised Proposed Sale Orders [D.I. 314] containing asset

purchase agreements with each of Universal and Ad Populum on April 5, 2025.

       8.      A hearing was held on April 7 and 8, 2025 to consider the proposed sale of the

Debtors’ assets (the “Sale Hearing”).     At the conclusion of the Sale Hearing, the Debtors

announced that they reached an agreement with Alliance regarding the terms by which

substantially all of the Debtors’ assets would be sold to Alliance. On April 11, 2025, the Court

entered the Order (I) Approving Asset Purchase Agreement Among Diamond Comic Distributors,

Inc., Diamond Select Toys & Collectibles, LLC, and Alliance Entertainment LLC; (II) Approving

Sale of Substantially all of the Debtors’ Assets Free and Clear of all Liens, Claims, Encumbrances

and Other Interests; (III) Approving Assumption and Assignment of Certain Executory Contracts

and Unexpired Leases; and (IV) Granting Related Relief [D.I. 335] (the “Alliance Sale Order”).

Pursuant to the terms of the asset purchase agreement with Alliance (the “Alliance Purchase

Agreement”), the sale to Alliance was required to close by April 25, 2025, or such later date as

agreed by the parties (the “Outside Closing Date”). In accordance with the Bid Procedures Order,

pending closing under the Alliance Purchase Agreement, Universal and Sparkle Pop, LLC (an

affiliate of Ad Populum) served as the Back-Up Bidders for the purchase of the Debtors’ assets.

       9.      On April 23, 2025, Alliance sent a letter to the Debtors asserting that a material

adverse change under the Alliance Purchase Agreement had occurred (the “MAC Notice”).




                                                3
                    Case 25-10308           Doc 385        Filed 04/29/25        Page 4 of 6




Thereafter, on April 24, 2025, Alliance provided formal written notice of its termination of the

Alliance Purchase Agreement.2

        10.      In response to the MAC Notice and termination of the Alliance Purchase

Agreement, the Debtors promptly pivoted to finalizing updated asset purchase agreements with

Universal and Ad Populum. Attached hereto as Exhibit A is a proposed sale order with Universal

(the “Universal Sale Order”) containing an amendment to the asset purchase agreement with

Universal, and attached hereto as Exhibit B is a proposed sale order with Sparkle Pop, LLC (the

“Sparkle Pop Sale Order”) containing an updated asset purchase agreement with Ad Populum.

Both asset purchase agreements attached to this Motion reflect negotiated, necessary modifications

to the asset purchase agreements attached to the Notice of Revised Proposed Sale Orders [D.I. 314]

due to the passage of time and change in circumstances since April 5, 2025. The asset purchase

agreement with Universal has been modified to change certain closing conditions, provide for an

updated outside closing date and reflect a modification of the purchase price payable by Universal.

The asset purchase agreement with Sparkle Pop, LLC has been modified to reflect, among other

things, a negotiated modification of the cash consideration payable by Sparkle Pop, LLC at closing

and a modification of the calculation of the so-called incentive fee.

        11.      A redline reflecting the modifications to the asset purchase agreement with Ad

Populum as compared to the asset purchase agreement with Ad Populum filed with the court on

April 5, 2025 is attached hereto as Exhibit C.

                                         Basis for Relief Requested

        12.      The Bid Procedures Order approved by the Court provides:

                 [I]n the event that Successful Bidder fails to close the Sale on or
                 before April 10, 2025 (or such date as may be extended by the
                 Debtors, in consultation with the Consultation Parties), the Back-Up

2
    The Debtors reserve all rights with respect to the MAC Notice and Alliance’s April 24, 2025 notice of termination.

                                                         4
                  Case 25-10308       Doc 385     Filed 04/29/25     Page 5 of 6




                Bid will be deemed to be the Successful Bid, the Back-Up Bidder
                will be deemed to be the Successful Bidder, and the Debtors shall
                be authorized, but not directed, to close the Sale to the Back-Up
                Bidder subject to the terms of the Back-Up Bid without the need for
                further order of the Court and without the need for further notice to
                any interested parties.

See Bid Procedures Order § XI.

       13.      Alliance terminated the Alliance Purchase Agreement and therefore failed to close

the sale by the Outside Closing Date. Consistent with the Bid Procedures Order, the Debtors are

now authorized to proceed with the sales of the Debtors’ assets to the Back-Up Bidders.

       14.      Out of an abundance of caution, the Debtors seek Court approval of the amendment

to the asset purchase agreement with Universal attached as Exhibit 1 to the Universal Sale Order

and the amended asset purchase agreement with Sparkle Pop, LLC attached as Exhibit 1 to the Ad

Populum Sale Order. The Debtors further seek entry of the Proposed Sale Orders attached here to

as Exhibit A and Exhibit B.

                                Waiver of Memorandum of Law

       15.      Pursuant to rule 9013-2 of the Local Bankruptcy Rules of the United States

Bankruptcy Court for the District of Maryland, the Debtors state that, in lieu of submitting a

memorandum in support of this Motion, the Debtors will rely on the grounds and authorities set

forth herein.

                                               Notice

       16.      Notice of this Motion will be given to the following parties or, in lieu thereof, to

their counsel: (i) the Office of the United States Trustee for the District of Maryland; (ii) the

Committee; (iii) counsel to JPMorgan Chase Bank, N.A.; and (iv) any party that has requested

notice pursuant to Bankruptcy Rule 2002. In light of the nature of the relief requested and section

XI of the Bid Procedures Order, the Debtors submit that no other or further notice is necessary.

                                                 5
                 Case 25-10308       Doc 385     Filed 04/29/25    Page 6 of 6




       WHEREFORE, the Debtors respectfully request entry of the Proposed Sale Orders

granting the relief requested herein and such other and further relief as the Court deems just and

warranted.



Dated: April 29, 2025                        SAUL EWING LLP
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                                                6
